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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                               EASTERN DISTRICT OF VIRGINIA
                                       Alexandria Division

 UNITED STATES OF AMERICA

        v.                                             No. 1:21-cr-71

 JONATHAN EDWARD DREW,

            a/k/a “Jon Drew”

        Defendant.


                                      PLEA AGREEMENT

       Raj Parekh, Acting United States Attorney for the Eastern District of Virginia;

undersigned counsel for the United States; the defendant, Jonathan Edward Drew; and the

defendant’s counsel have entered into an agreement pursuant to Rule 11 of the Federal Rules of

Criminal Procedure. The terms of this Plea Agreement are as follows:

       1.       Offense and Maximum Penalties

       The defendant agrees to waive indictment and plead guilty to Counts One and Two of the

Criminal Information. Count 1 charges the defendant with bank fraud, in violation of Title 18,

United States Code, Section 1344. The maximum penalties for this offense are a maximum term

of 30 years of imprisonment, a fine of $1,000,000 or not more than the greater of twice the gross

gain derived by any person from the offense or twice the gross loss to a person other than the

defendant resulting from the offense, full restitution, forfeiture of assets as outlined below,

special assessments pursuant to 18 U.S.C. §§ 3013 and 3014, and a supervised release term of

not more than 5 years. The defendant understands that this supervised release term is in addition

to any prison term the defendant may receive, and that a violation of a term of supervised release

could result in the defendant being returned to prison for the full term of supervised release.


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        Count 2 charges the defendant with aggravated identity theft, in violation of Title 18,

United States Code, Section 1028A. The maximum penalties for this offense are a two-year term

of imprisonment to be served consecutively to any punishment imposed on Count 1, a fine of

$250,000 or not more than the greater of twice the gross gain derived by any person from the

offense or twice the gross loss to a person other than the defendant resulting from the offense,

full restitution, forfeiture of assets as outlined below, special assessments pursuant to 18 U.S.C.

§§ 3013 and 3014, and a supervised release term of not more than 1 year. The defendant

understands that this supervised release term is in addition to any prison term the defendant may

receive, and that a violation of a term of supervised release could result in the defendant being

returned to prison for the full term of supervised release.

       2.      Factual Basis for the Plea

       The defendant will plead guilty because the defendant is in fact guilty of the charged

offenses. The defendant admits the facts set forth in the Statement of Facts filed with this Plea

Agreement and agrees that those facts establish guilt of the offenses charged beyond a reasonable

doubt. The Statement of Facts, which is hereby incorporated into this Plea Agreement,

constitutes a stipulation of facts for purposes of Section 1B1.2(c) of the Sentencing Guidelines.

       3.      Assistance and Advice of Counsel

       The defendant is satisfied that the defendant’s attorney has rendered effective assistance.

The defendant understands that by entering into this Plea Agreement, defendant surrenders

certain rights as provided in this agreement. The defendant understands that the rights of

criminal defendants include the following:

               a.      the right to plead not guilty and to persist in that plea;

               b.      the right to a jury trial;

               c.      the right to be represented by counsel—and, if necessary, have the court
                       appoint counsel—at trial and at every other stage of the proceedings; and

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                d.    the right at trial to confront and cross-examine adverse witnesses, to be
                      protected from compelled self-incrimination, to testify and present
                      evidence, and to compel the attendance of witnesses.

       4.       Sentencing Guidelines, Recommendations, and Roles

       The defendant understands that the Court has jurisdiction and authority to impose any

sentence within the statutory maximum described above, but that the Court will determine the

defendant’s actual sentence in accordance with 18 U.S.C. § 3553(a). The defendant understands

that the Court has not yet determined a sentence and that any estimate of the advisory sentencing

range under the U.S. Sentencing Commission’s Sentencing Guidelines Manual the defendant

may have received from the defendant’s counsel, the United States, or the Probation Office, is a

prediction, not a promise, and is not binding on the United States, the Probation Office, or the

Court. Additionally, pursuant to the Supreme Court’s decision in United States v. Booker, 543

U.S. 220 (2005), the Court, after considering the factors set forth in 18 U.S.C. § 3553(a), may

impose a sentence above or below the advisory sentencing range, subject only to review by

higher courts for reasonableness. The United States makes no promise or representation

concerning what sentence the defendant will receive, and the defendant cannot withdraw a guilty

plea based upon the actual sentence.

       Further, in accordance with Federal Rule of Criminal Procedure 11(c)(1)(B), the United

States and the defendant stipulate and will recommend to the Court that the following provisions

of the Sentencing Guidelines apply:

 Guideline(s)             Description                                              Offense Level
 2B1.1(a)(1)              Base offense level                                             7
 2B1.1(b)(2)(A)(i)        The offense involved 10 or more victims                        +2
                          The offense involved conduct described in 18 U.S.C.
 2B1.1(b)(12)             § 1040                                                         +2


       The United States and the defendant further agree that the defendant has assisted the

government in the investigation and prosecution of the defendant’s own misconduct by timely
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notifying authorities of the defendant’s intention to enter a plea of guilty, thereby permitting the

government to avoid preparing for trial and permitting the government and the Court to allocate

their resources efficiently. If the defendant qualifies for a two-level decrease in offense level

level pursuant to U.S.S.G. § 3E1.1(a) and the offense level prior to the operation of that section is

a level 16 or greater, the government agrees to file, pursuant to U.S.S.G. § 3E1.1(b), a motion

prior to, or at the time of, sentencing for an additional one-level decrease in the defendant’s

offense level.

       The United States and the defendant agree that Count 2 is excluded from the application

of the grouping rules (U.S.S.G. §§ 3D1.2-3D1.5), pursuant to the terms of U.S.S.G. § 3D1.1(b).

       The United States and the defendant have not agreed on any further sentencing issues,

whether related to the Sentencing Guidelines or the factors listed in 18 U.S.C. § 3553(a), other

than those set forth above or elsewhere in this Plea Agreement. Any stipulation on a Guidelines

provision does not limit the parties’ arguments as to any other Guidelines provisions or

sentencing factors under Section 3553(a), including arguments for a sentence within or outside

the advisory Guidelines range found by the Court at sentencing.

       5.        Waiver of Appeal, FOIA, and Privacy Act Rights

       The defendant also understands that 18 U.S.C. § 3742 affords a defendant the right to

appeal the sentence imposed. Nonetheless, the defendant knowingly waives the right to appeal

the conviction and any sentence within the statutory maximum described above (or the manner in

which that sentence was determined) on the grounds set forth in 18 U.S.C. § 3742 or on any

ground whatsoever other than an ineffective assistance of counsel claim that is cognizable on

direct appeal, in exchange for the concessions made by the United States in this Plea Agreement.

This agreement does not affect the rights or obligations of the United States as set forth in 18

U.S.C. § 3742(b). The defendant also hereby waives all rights, whether asserted directly or by a


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representative, to request or receive from any department or agency of the United States any

records pertaining to the investigation or prosecution of this case, including without limitation

any records that may be sought under the Freedom of Information Act, 5 U.S.C. § 552, or the

Privacy Act, 5 U.S.C. § 552a.

       6.      Immunity from Further Prosecution in This District

       The United States will not further criminally prosecute the defendant in the Eastern

District of Virginia for the specific conduct described in the Information or Statement of Facts.

This Plea Agreement and Statement of Facts does not confer on the defendant any immunity

from prosecution by any state government in the United States.

       7.      Defendant’s Cooperation

       The defendant agrees to cooperate fully and truthfully with the United States, and provide

all information known to the defendant regarding any criminal activity as requested by the

government. In that regard:

               a.      The defendant agrees to testify truthfully and completely at any grand
                       juries, trials or other proceedings.

               b.      The defendant agrees to be reasonably available for debriefing and pre-
                       trial conferences as the United States may require.

               c.      The defendant agrees to provide all documents, records, writings, or
                       materials of any kind in the defendant’s possession or under the
                       defendant’s care, custody, or control relating directly or indirectly to all
                       areas of inquiry and investigation.

               d.      The defendant agrees that, at the request of the United States, the
                       defendant will voluntarily submit to polygraph examinations, and that the
                       United States will choose the polygraph examiner and specify the
                       procedures for the examinations.

               e.      The defendant agrees that the Statement of Facts is limited to information
                       to support the plea. The defendant will provide more detailed facts
                       relating to this case during ensuing debriefings.

               f.      The defendant is hereby on notice that the defendant may not violate any
                       federal, state, or local criminal law while cooperating with the
                       government, and that the government will, in its discretion, consider any
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                       such violation in evaluating whether to file a motion for a downward
                       departure or reduction of sentence.

               g.      Nothing in this agreement places any obligation on the government to
                       seek the defendant’s cooperation or assistance.

       8.      Use of Information Provided by the Defendant Under This Agreement

       The United States will not use any truthful information provided pursuant to this

agreement in any criminal prosecution against the defendant in the Eastern District of Virginia,

except in any prosecution for a crime of violence or conspiracy to commit, or aiding and

abetting, a crime of violence (as defined in 18 U.S.C. § 16). Pursuant to U.S.S.G. § 1B1.8, no

truthful information that the defendant provides under this agreement will be used in determining

the applicable guideline range, except as provided in Section 1B1.8(b). Nothing in this

agreement, however, restricts the Court’s or Probation Officer’s access to information and

records in the possession of the United States. Furthermore, nothing in this agreement prevents

the government in any way from prosecuting the defendant should the defendant knowingly

provide false, untruthful, or perjurious information or testimony, or from using information

provided by the defendant in furtherance of any forfeiture action, whether criminal or civil,

administrative or judicial. The United States will bring this agreement and the full extent of the

defendant’s cooperation to the attention of other prosecuting offices if requested.

       9.      Prosecution in Other Jurisdictions

       The U.S. Attorney’s Office for the Eastern District of Virginia will not contact any other

state or federal prosecuting jurisdiction and voluntarily turn over truthful information that the

defendant provides under this agreement to aid a prosecution of the defendant in that jurisdiction.

Should any other prosecuting jurisdiction attempt to use truthful information the defendant

provides pursuant to this agreement against the defendant, the U.S. Attorney’s Office for the

Eastern District of Virginia agrees, upon request, to contact that jurisdiction and ask that


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jurisdiction to abide by the immunity provisions of this agreement. The parties understand that

the prosecuting jurisdiction retains the discretion over whether to use such information.

       10.     Defendant Must Provide Full, Complete, and Truthful Cooperation

       This agreement is not conditioned upon charges being brought against any other

individual. This agreement is not conditioned upon any outcome in any pending investigation.

This agreement is not conditioned upon any result in any future prosecution that may occur

because of the defendant’s cooperation. This agreement is not conditioned upon any result in

any future grand jury presentation or trial involving charges resulting from this investigation.

This agreement is conditioned upon the defendant providing full, complete, and truthful

cooperation.

       11.     Motion for a Downward Departure

       The parties agree that the United States reserves the right to seek any departure from the

applicable sentencing guidelines, pursuant to Section 5K1.1 of the Sentencing Guidelines and

Policy Statements, or any reduction of sentence pursuant to Rule 35(b) of the Federal Rules of

Criminal Procedure, if, in its sole discretion, the United States determines that such a departure

or reduction of sentence is appropriate. In addition, the defendant understands that the Court—

not the United States—will decide what, if any, reduction in sentence is appropriate.

       Furthermore, the proceeding established by the Plea Agreement section titled Breach of

the Plea Agreement and Remedies does not apply to the decision of the United States whether to

file a motion based on “substantial assistance” as that phrase is used in Rule 35(b) of the Federal

Rules of Criminal Procedure and Section 5K1.1 of the Sentencing Guidelines and Policy

Statements. As noted above, the defendant agrees that the decision whether to file such a motion

rests in the sole discretion of the United States. In addition, should the defendant violate the Plea




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Agreement, as defined in Breach of the Plea Agreement and Remedies, or should the defendant

violate this Cooperation Agreement, the United States will be released from its obligations under

either agreement, including any obligation to seek a downward departure or a reduction in

sentence. The defendant, however, may not withdraw the guilty plea entered pursuant to the Plea

Agreement.

       12.     Payment of Monetary Penalties

       The defendant understands and agrees that, pursuant to 18 U.S.C. § 3613 and 18 U.S.C.

§ 3572, all monetary penalties imposed by the Court, including restitution, will be due

immediately and subject to immediate enforcement by the United States as provided for in

Section 3613. Within 14 days of a request, the defendant agrees to provide all of the defendant’s

financial information to the United States and the Probation Office and, if requested, to

participate in a pre-sentencing debtor’s examination and/or complete a financial statement under

penalty of perjury. If the Court imposes a schedule of payments, the defendant understands that

the schedule of payments is merely a minimum schedule of payments and not the only method,

nor a limitation on the methods, available to the United States to enforce the judgment. Until all

monetary penalties are paid in full, the defendant will be referred to the Treasury Offset Program

so that any federal payment or transfer of returned property to the defendant will be offset and

applied to pay the defendant’s unpaid monetary penalties. If the defendant is incarcerated, the

defendant agrees to participate voluntarily in the Bureau of Prisons’ Inmate Financial

Responsibility Program, regardless of whether the Court specifically directs participation or

imposes a schedule of payments. Defendant agrees to make good-faith efforts toward payment of

all monetary penalties imposed by the Court.




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        13.     Special Assessment

        Before sentencing in this case, the defendant agrees to pay a mandatory special

assessment of $100 per felony count of conviction, pursuant to 18 U.S.C. § 3013(a)(2)(A).

        14.     Restitution

        The defendant agrees that restitution is mandatory pursuant to 18 U.S.C. § 3663A(c)(1),

and the defendant agrees to the entry of a Restitution Order for the full amount of the victims’

losses as determined by the Court at sentencing or at a separate hearing scheduled by the Court.

Pursuant to 18 U.S.C. § 3663A(c)(2), the defendant further agrees that an offense listed in

Section 3663A(c)(1) gave rise to this Plea Agreement and, as such, victims of the conduct

described in the charging instrument, Statement of Facts, or any related or similar conduct shall

be entitled to restitution. Pursuant to Section 3663A(a)(3) and this Plea Agreement, the parties

also agree that, at minimum, the following victims have suffered the losses identified below and

are entitled to restitution:

 Victim Name                                                                  Restitution Amount
 Discover Bank                                                                         $2,859.33
 JP Morgan Chase Bank                                                                     $48.29
 Azlo Bank                                                                             $4,000.00
 First Internet Bank of Indiana                                                        $2,500.00
 Truist Bank (formerly Suntrust Bank)                                                  $3,000.00
 JBG Smith (Vy Reston Heights Apartments)                                             $25,345.14
 EXO                                                                                   $6,383.25


         The parties agree that the defendant owes the balance not paid by the Virginia Rent and

Mortgage Relief Program to JBG Smith (Vy Reston Heights Apartments).

        The defendant understands that forfeiture and restitution are separate and distinct

financial obligations that must be imposed upon a criminal defendant. The defendant further

understands that restitution will be enforced pursuant to 18 U.S.C. § 3572, 18 U.S.C. § 3613, and

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18 U.S.C. § 3664(m).

       The parties acknowledge that determination of the identities, addresses, and loss amounts

for all victims in this matter is a complicated and time-consuming process. To that end,

defendant agrees that, pursuant to 18 U.S.C. § 3664(d)(5), the Court may defer the imposition of

restitution until after the sentencing; however, defendant specifically waives the 90-day

provision found at Section 3664(d)(5) and consents to the entry of any orders pertaining to

restitution after sentencing without limitation.

       15.     Forfeiture Agreement

       The defendant understands that the forfeiture of assets is part of the sentence that must be

imposed in this case. The defendant agrees to forfeit all interests in any fraud-related asset that

the defendant owns or over which the defendant exercises control, directly or indirectly. This

includes any property that is traceable to, derived from, fungible with, or a substitute for the

following: property that constitutes the proceeds of the offense. The defendant agrees to a

personal money judgment in an amount to be determined by the Court, representing the

proceeds of bank fraud. The defendant understands that the total amount of the money

judgment will be determined at or before sentencing.

       The defendant understands that if the assets subject to forfeiture are not available to the

United States to be forfeited, the Court must enter a forfeiture money judgment in the amount of

the unavailable assets. United States v. Blackman, 746 F.3d 137 (4th Cir. 2014). The defendant

acknowledges that as a result of defendant’s acts or omissions, the actual proceeds the defendant

obtained as a result of the offense are not available and the defendant stipulates that one or more

of the factors listed at 21 U.S.C. § 853(p)(1) are present in this case.

       The defendant further agrees to waive all interest in the asset(s) in any administrative or

judicial forfeiture proceeding, whether criminal or civil, state or federal. The defendant agrees to


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consent to the entry of orders of forfeiture for such property and waives the requirements of

Federal Rules of Criminal Procedure 32.2 and 43(a) regarding notice of the forfeiture in the

charging instrument, announcement of the forfeiture at sentencing, and incorporation of the

forfeiture in the judgment. Defendant admits and agrees that the conduct described in the

charging instrument and Statement of Facts provides a sufficient factual and statutory basis for

the forfeiture of the property sought by the government.

        16.     Waiver of Further Review of Forfeiture

        The defendant further agrees to waive all constitutional and statutory challenges to

forfeiture in any manner (including direct appeal, habeas corpus, or any other means) to any

forfeiture carried out in accordance with this Plea Agreement on any grounds, including that the

forfeiture constitutes an excessive fine or punishment. The defendant also waives any failure by

the Court to advise the defendant of any applicable forfeiture at the time the guilty plea is

accepted as required by Rule 11(b)(1)(J). The defendant agrees to take all steps as requested by

the United States to pass clear title to forfeitable assets to the United States, and to testify

truthfully in any judicial forfeiture proceeding. The defendant understands and agrees that all

property covered by this agreement is subject to forfeiture as proceeds of illegal conduct.

        17.     The Defendant’s Obligations Regarding Assets Subject to Forfeiture

        Upon request by the government, the defendant agrees to identify all assets in which the

defendant had any interest or over which the defendant exercises or exercised control, directly or

indirectly, within the past 2 years from the date of the defendant’s signature on this Plea

Agreement. The defendant agrees to take all steps as requested by the United States to obtain

from any other parties by any lawful means any records of assets owned at any time by the

defendant. The defendant agrees to undergo any polygraph examination the United States may

choose to administer concerning such assets and to provide and/or consent to the release of the


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defendant’s tax returns for the previous five years. The defendant understands that the proceeds

of the offense(s) are subject to forfeiture and cannot be used for any purpose, to include

attorney’s fees and living expenses.

       18.     Breach of the Plea Agreement and Remedies

       This Plea Agreement is effective when signed by the defendant, the defendant’s attorney,

and an attorney for the United States. The defendant agrees to entry of this Plea Agreement at the

date and time scheduled with the Court by the United States (in consultation with the

defendant’s attorney). If the defendant withdraws from this agreement, or commits or attempts

to commit any additional federal, state, or local crimes, or intentionally gives materially false,

incomplete, or misleading testimony or information, or otherwise violates any provision of this

agreement, then:

               a.      The United States will be released from its obligations under this
                       agreement. The defendant, however, may not withdraw the guilty plea
                       entered pursuant to this agreement.

               b.      The defendant will be subject to prosecution for any federal criminal
                       violation, including, but not limited to, perjury and obstruction of justice,
                       that is not time-barred by the applicable statute of limitations on the date
                       this agreement is signed. Notwithstanding the subsequent expiration of
                       the statute of limitations, in any such prosecution, the defendant agrees to
                       waive any statute-of-limitations defense.

               c.      Any prosecution, including the prosecution that is the subject of this
                       agreement, may be premised upon any information provided, or
                       statements made, by the defendant, and all such information,statements,
                       and leads derived therefrom may be used against the defendant. The
                       defendant waives any right to claim that statements made before or after
                       the date of this agreement, including the Statement of Facts accompanying
                       this agreement or adopted by the defendant and any other statements made
                       pursuant to this or any other agreement with the United States, should be
                       excluded or suppressed under Fed. R. Evid. 410, Fed. R. Crim. P. 11(f),
                       the Sentencing Guidelines, or any other provision of the Constitution or
                       federal law.

       Any alleged breach of this agreement by either party shall be determined by the Court in

an appropriate proceeding at which the defendant’s disclosures and documentary evidence shall

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be admissible and at which the moving party shall be required to establish a breach of this Plea

Agreement by a preponderance of the evidence.

       19.     Nature of the Agreement and Modifications

       This written agreement constitutes the complete plea agreement between the United

States, the defendant, and the defendant’s counsel. The defendant and the defendant’s attorney

acknowledge that no threats, promises, or representations have been made, nor agreements

reached, other than those set forth in writing in this Plea Agreement or any associated documents

filed with the Court, to cause the defendant to plead guilty. Any modification of this Plea

Agreement shall be valid only as set forth in writing in a supplemental or revised plea agreement

signed by all parties.


                                                      Raj Parekh
                                                      Acting United States Attorney

                                                By:
                                                      Roberta O. Roberts
                                                      Special Assistant United States Attorney
                                                      Russell L. Carlberg
                                                      Assistant United States Attorney




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